 4:09-cr-03005-RGK-CRZ   Doc # 35   Filed: 04/02/09   Page 1 of 1 - Page ID # 56



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:09CR3005
                                     )
           v.                        )
                                     )
RICHARD CANFIELD,                    )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     1. Plaintiff’s motion to extend deadline, filing no. 32, is
granted and the deadline to file its brief in opposition to the
pending motion to suppress is extended to April 17, 2009.

     2. The suppression hearing is continued from April 16 to
May 20, 2009 at 1:30 p.m.


     DATED this 2nd day of April, 2009.


                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
